Case 5:01-cv-00215-VAP-SGL Document 101 Filed 11/18/21 Page 1 of 2 Page ID #:210



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     KEVIN A. HOANG, State Bar #277132
   2 RONALD P. SLATES, A PROFESSIONAL CORPORATION
     500 South Grand Avenue, Biltmore Tower Suite 2010
   3 Los Angeles, California 90071
     (213) 624-1515 / FAX (213) 624-7536
   4
   5 Attorneys for Plaintiff Microsoft Corporation
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   7
   8                        UNITED STATES DISTRICT COURT
   9      FOR THE CENTRAL DISTRICT OF CALIFORNIA EASTERN DIVISION
  10
  11 MICROSOFT CORPORATION,        ) CASE NO. 5:01-cv-00215-VAP (SGLx)
                                   )
  12            Plaintiff,         ) RENEWAL OF
                                   ) JUDGMENT BY CLERK
  13       vs.                     )
                                   )
  14   BRIAN CALDERON, aka BRIAN   )
       CADERON, aka BRYAN CADERON, )
  15                               )
                Defendant.         )
  16                               )
  17
  18
  19        The Judgment Debtor, Brian Calderon, aka Brian Caderon, aka Bryan
  20
  21 27, 2002, and having said Judgment renewed against him on February 9, 2012;
  22        NOW, upon application of the Judgment Creditor, Microsoft Corporation
  23                                                 that Judgment Debtor has failed to pay
  24 the total amount of said judgment; and that Judgment Debtor is indebted to
  25 Judgment Creditor;
  26        Judgment against the Judgment Debtor is hereby renewed in the amount of
  27 $1,417,264.13 and the Judgment Creditor shall recover as follows:
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                             RENEWAL OF JUDGMENT BY CLERK
                                                                                    Case 5:01-cv-00215-VAP-SGL Document 101 Filed 11/18/21 Page 2 of 2 Page ID #:211



                                                                                                 1 Renewal of Judgment:
                                                                                                 2        a. Total judgment ...................................................... $1,164,909.47
                                                                                                 3        b. Costs after judgment............. .............................................. $0.00
                                                                                                 4        c. Subtotal (add a and b) ........................................... $1,164,909.47
                                                                                                 5        d. Credits after judgment................................................ $29,000.00
                                                                                                 6        e. Subtotal (subtract d from c) .................................. $1,135,909.47
                                                                                                 7        f. Interest after judgment ............................................. $281,354.66
                                                                                                 8        g. Fee for filing renewal application ..................................... $0.00
                                                                                                 9        h. Total renewed Judgment (add e, f, and g) .....,,.... $1,417,264.13
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                                               500 S. GRAND AVENUE, BILTMORE TOWER SUITE 2010




                                                                                                11 Dated:    11/18/2021                     _______________________________________
                                                                                                                                            DEPUTY CLERK
                                                                                                12
                                                        (213) 624-1515 / FAX (213) 624-7536
                                                        LOS ANGELES, CALIFORNIA 90071




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                                                                                                14 Respectfully submitted,
                                                                                                15 RONALD P. SLATES
                                                                                                   A PROFESSIONAL CORPORATION
                                                                                                16
                                                                                                         /s/ RONALD P. SLATES
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                                                                                                   BY: RONALD P. SLATES
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                                                                                                   Attorney for Plaintiff/Judgment Creditor, Microsoft Corporation
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